USDA                                     Unltod States Department ol Agricutture
                                        Animal and Plant HoaHh 1nspec1ion Service
iiiiiiiil
                                                 Inspection Report
Pamela J . Sellnet
Tom   J . Sellner                                                   Customer I0 : S143
Cricket HollOw Zoo                                                    Cortllicate· 42-C-0084
1512 2 t0th Stree1
Manchester, lA 52057                                                          Slie· 001
                                                                               l(:lf.t l PAUQ..A SEU.HER


                                                                              Type· ROUTINE tNSPECTlON
                                                                              Date· 001.07-2014

 2.40            (b)      (2)                    REPEA T     DIRECT NQ
 A TTENOING VETERINARIAN AND ADEOUATE VETERINARY CARE (DEALERS AND EXHIBITORS~
There is  male,...,,. vger named "C4s1>e<" (dale ol birtll !>'04) -  an"""" wound on the inside o1 the left front leg
that i s - two inc:hos by ttvoo - " ' size. The -           around the wound is 1$1 and swolen and the siUn is puled
baCk~ red liSSue 111 IWO places ~was _,liclcl<lg this wound. Tho -                        also has a mode<alely 1110>
body condition wiltl mildly proc~ N p - 8nd - - This ...mat- ac;quired on tO .klly 2014, Acal«fng
to the licensee, he was ttwl and had cuts and IOfft on his face and legS atll'\at t•me and She had documented rhose
p<oblems. Tho attondlng v<II<Hinarlan evaluatod the togo< on 25 Augost20 •• No ~eatmefit gt.Odellnes wete given to
the ioensee ru that rime. No rrealmlnt b the lldn or wounds has been grven to d1is animaJ. The lic::ensee gave
dewcwming medicabon to lhe animal on 14 SeptembQr 20 14. because of the thin bOdy condition. The liCensee states
that the animal has not gained WGight u She expeeted aftet rho dewomting medication was given. The attending
vetetinarian has not evatuated this 8nimal slnoe the i,..IJafexam in Augus.t 5100 wounds can become infected and be
painful for the animaL Also, a thin body conchbOn can tndlcate othor modicaJ problemS occutting in tl'le an.mal. The
licensee must have this an.maJ examined b)' a licensed veterinarian by close of busmess on 9 October 20 14 in order
to ensure that an accurate diagnosis lot tho thin body cond1tion 8tld &kir'l wound is obtained and that an S&~Propriate
treatmoot plan is CkWetopOO and tollowod. Thellcenaco mus1 c:tocumont tho outcomo of this oonsuttatlon, induding
the diagnosis, treatment and resolution of tho condition, and make it available to the inspec~or upon request.


3.125            (a)                             REPEAT
FACILITIES, GENERAL.

The panel fence of the llama enclos4Jro housing lour llamas has areas ol bent and protruding metal bars. Some of the
protrOOing metal bars are pointed Inward toward tho animal enclosure at toot love! and at head level by the Ieeder.
...
Enctooures that aro not koptln gOOd repa)r can toad to Injuries In tho anlmok•

There are areas in the tenoe ot the goat enclosure with holes large enough that at teast three smaa goats were seen
outside the endosure. One goat was seen In the "alloy way" behind the goat enclosure and the other two were seen
in the hay r~ &~¥cent to the next enclosure. The "alley wayft behind the entl0$ure where these small goats were
seen has fencing with shBip points ancltiOOGSS to tht land oU111de of the facility. Animal housing lacililie$th.at do nol
seci.Kety contain the animals can toad to lnjurlos or toss ot lhe


                                Mt..RGt..F:ET : 1-L.'...VEP [ 1 V M
Pr01)11red By:


      Title:
                       MARGARET A HAV        .
                                          -. -          USDA.
                       VETERINARY MEOICAL OfflCER l""*'or 6034
                                                                     s. Ani   at Care                      Date:
                                                                                                       001-{17-2014

Received By:
                                                                                                       Date:
      Title:                                                                                           001.07-2014
                    Case 6:14-cv-02034-JSS Document 70-28 Filed 10/16/15                            EXHIBIT
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                                          United States Department ot Agricuhure
                                         Animal and Plant Hearth Inspection Setvtce


                                                Inspection Report
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- - The                      indoor.,.,_
The 11oenseo """' ......,olhalllle tac:illy os constnJCtOd ot SUCh maJot\alltld ot suc:h Sltqlh as - tor the
                                            housing- shdbe 81rucnnly......., l t l d - bemainlajned ..
good repaur 10 prot«t ihe arimals from in;..-y and to oontain the trinak.
3.129              (8)
FEEDING.
There is a con CJC)&rated food dispenser for public use in front or the ooclosute housing 28 Jacob's sheep and rwo
Barbados sheop. Tho clear container allows for visualization of the food contained witt.n. There is caking and
dlscolorabon ol the food at tho bottom of tho food oontalner. The fOOd dlsponsor was covOtod with plastiC at tOO time
of inspectiOn because the licensee is concerned about water gettJng Into the container. Deterioration of food fOf the
animals can l&&d to contaminated food aoo decrea.sed nutritional value. The licensee must et~sur& that food shall be
wholesome. palatable, and trea from contamination and of sult!clent quantity Ond nutritNe value to maintain au
animals In good health. To be corrected by 11 October 2014,




The noo-oomptlam '"'"' listed under ~ate VeterinaJY care on the prll\'ious i0$1)0C11on report - 2.40(b)(2) has
_,OOITected.




Prepa~       By:
                         MARGARET A SHAVER. O.V.M.     USOA, APiliS. Arimal Care              Date:
    Tille:               VETERINARY MEOICAl~~~~~~ 6034                                        ()a-()7·2014

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                                                                                          Page  2 of293PAGE 0002
                                                                                                             000269
A_COUNT   A_NAME                   A_GROUP
2         AFRICAN CRESTED PORCUPINEALL OTHER COVERED SPECIE
12        AFRICAN SPINY MOUSE      ALL OTHER COVERED SPECIE
1         BOBCAT                   ALL OTHER COVERED SPECIE
1         CAPYBARA                 ALL OTHER COVERED SPECIE
2         COATI MUNDI              ALL OTHER COVERED SPECIE
2         COYOTE                   ALL OTHER COVERED SPECIE
10        DEGU                     ALL OTHER COVERED SPECIE
2         DOMESTIC FERRET          ALL OTHER COVERED SPECIE
1         DROMEDARY                ALL OTHER COVERED SPECIE
1         FALLOW DEER              ALL OTHER COVERED SPECIE
2         FENNEC FOX               ALL OTHER COVERED SPECIE
5         KINKAJOU                 ALL OTHER COVERED SPECIE
1         LINNES TWO-TOED SLOTH    ALL OTHER COVERED SPECIE
3         NAKED MOLE-RAT           ALL OTHER COVERED SPECIE
1         NINE-BANDED ARMADILLO    ALL OTHER COVERED SPECIE
2         NORTH AMERICAN BLACK BEARALL OTHER COVERED SPECIE
1         PATAGONIAN CAVY          ALL OTHER COVERED SPECIE
3         RACCOON                  ALL OTHER COVERED SPECIE
1         SERVAL                   ALL OTHER COVERED SPECIE
1         STRIPED SKUNK            ALL OTHER COVERED SPECIE
2         WOODCHUCK                ALL OTHER COVERED SPECIE
3         DOG ADULT                DOGS
10        GUINEA PIG               GUINEA PIGS
2         GREATER BUSHBABY         NONHUMAN PRIMATES
4         HAMADRYAS BABOON         NONHUMAN PRIMATES
2         RHESUS MACAQUE           NONHUMAN PRIMATES
2         RING-TAILED LEMUR        NONHUMAN PRIMATES
1         RUFFED LEMUR             NONHUMAN PRIMATES
1         VERVET                   NONHUMAN PRIMATES
6         CHINCHILLA               OTHER FARM ANIMALS
7         COW OR OX                OTHER FARM ANIMALS
18        GOAT                     OTHER FARM ANIMALS
5         LLAMA                    OTHER FARM ANIMALS
10        PIG                      PIG
2         AFRICAN SOFT-FURRED RAT  RODENTS (Does not include lab rats or mice)
61        SHEEP OR MOUFLON         SHEEP
3         LION                     WILD/EXOTIC FELINES
1         PUMA                     WILD/EXOTIC FELINES
7         TIGER                    WILD/EXOTIC FELINES




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